            Case 1:15-cv-00394-LY Document 1 Filed 05/13/15 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

GENEVIE ILENE MALEY and                      §
HOLLY DROWLEY                                §
                                             §
               Plaintiffs,                   §
                                             §              CIVIL ACTION NO: 1:15-CV-00394
       v.                                    §
                                             §
MINNESOTA LIFE INSURANCE                     §
COMPANY,                                     §
                                             §
               Defendant.                    §

                             PLAINTIFFS’ ORIGINAL COMPLAINT

       Plaintiffs Genevie Ilene Maley and Holly Drowley (“Plaintiffs”) file this Original

Complaint against Minnesota Life Insurance Company (“Defendant”) and respectfully request

the Court enter judgment in their favor and award them all damages, fees, interest, and costs

recognized at law or in equity. Plaintiffs would respectfully show the Court the following:

                                           I. PARTIES

      1.       Plaintiff Genevie Ilene Maley is an individual residing in Travis County, Texas.

      2.       Plaintiff Holly Drowley is an individual residing in Clark County, Nevada.

      3.       Defendant Minnesota Life Insurance Company is a Minnesota company doing

business in Texas and may be served with process through its registered agent CT Corporation

System at 1999 Bryan St., Suite 900, Dallas, Texas 75201.

                                   II. JURISDICTION & VENUE

      4.       Diversity Jurisdiction -- This Court has subject matter jurisdiction under 28

U.S.C. § 1332 because this is a civil action between citizens of different states and the amount in

controversy exceeds the sum of $75,000. Specifically, Plaintiff, Genevie Ilene Maley is a



                                                 1
           Case 1:15-cv-00394-LY Document 1 Filed 05/13/15 Page 2 of 4



resident of Texas, Plaintiff Holly Drowley is a resident of Nevada and Defendant has its

principal place of business in St. Paul, Minnesota.

      5.       Venue is also proper in this district pursuant to 28 U.S.C. § 1391(b)(3) because a

substantial part of the events and omissions giving rise to this case occurred in this district.

Plaintiff, Genevie Ilene Maley negotiated and executed the agreement made basis of this lawsuit

in Travis County, Texas. Complete diversity exists between the parties to this lawsuit.

                                    III. BACKGROUND FACTS

      6.       Brock W. Maley obtained insurance with Defendant under Minnesota Life

Insurance Company Policy No. 34234 on behalf of Dell USA. After the death of Brock Maley, a

dispute arose as to who the proper beneficiary of his life insurance policy was – his ex-wife,

Genevie Ilene Maley, or his sister, Holly Drowley. Brock Maley died in Travis County, Texas.

      7.       A Release and Settlement Agreement (the “Agreement”) was reached between

Plaintiffs and Defendant regarding the payout of the policy limits by Defendant, the terms of

which are confidential and the Agreement is filed herewith under seal as Exhibit A. Defendant

drafted this Agreement, and sent it to the Plaintiffs on June 30, 2014, asking that Plaintiffs sign

it. In short, the Agreement stated that in exchange for a release of all claims held by Plaintiffs,

Defendant agreed to pay Plaintiffs the sum of $170,000.00. Plaintiffs executed the Agreement

on that same day and delivered it to Defendant.

      8.       Subsequent to the signing and delivery of the executed Agreement, however,

Defendant notified Plaintiffs that it would not be making the payout under the Agreement. As of

the time of this filing, Defendant has failed to make the payment as promised under the terms of

the Agreement.




                                                  2
             Case 1:15-cv-00394-LY Document 1 Filed 05/13/15 Page 3 of 4



                           IV. COUNT ONE – BREACH OF CONTRACT

      9.       Plaintiffs incorporate and re-allege paragraphs 1-8 above.

     10.       Plaintiffs and Defendant entered into a valid, enforceable contract.       Plaintiff

performed their respective obligations under the Agreement. Defendant’s actions amount to a

breach of the contract between Plaintiffs and Defendant.

     11.       Plaintiffs and Defendant entered into an agreement by which the parties settled all

disputes between them, determined the settlement amount, and to whom such funds should be

paid. Defendant breached that agreement by failing to pay Plaintiffs in the amount required

under the Agreement.

     12.       Plaintiffs have suffered damages as a result of this breach. Plaintiffs are entitled

to recover their actual damages, court costs and reasonable and necessary attorney’s fees

pursuant to TEX. CIV. PRAC. & REM. CODE § 38.001, et seq.

       V. COUNT TWO-CLAIM PURSUANT TO UNIFORM DECLARATORY JUDGMENTS ACT

       13.     Plaintiffs also plead a claim under the Uniform Declaratory Judgments Act

pursuant to TEX. CIV. PRAC. & REM. CODE 37.000 et seq. Plaintiffs seek the court to declare the

rights, status, and other legal relations of the parties to the Release and Settlement Agreement

attached hereto as Exhibit A. TEX. CIV. PRAC. & REM. CODE 37.002(b). In particular, Plaintiffs

request the Court to declare the Agreement enforceable, supported by consideration and afford

effect to the Agreement, awarding the damages sought herein. Plaintiffs invoke the Uniform

Declaratory Judgments Act and seeks attorneys’ fees under said statute.

                                     VI. ATTORNEYS’ FEES

       14.        As a result of Defendant’s conduct described hereinabove, it has become

necessary to retain the undersigned attorneys. Such attorneys’ fees are recoverable under the



                                                3
             Case 1:15-cv-00394-LY Document 1 Filed 05/13/15 Page 4 of 4



provisions of Section 38.001 et seq. of the Texas Civil Practice and Remedies Code and/or

pursuant to the Uniform Declaratory Judgments Act, TEX. CIV. PRAC. & REM. CODE 37.000 et

seq.

                                 VII. CONCLUSION AND PRAYER

       Plaintiffs pray that upon final trial of this case they have judgment against Defendant for

specific performance of the Agreement, actual damages, reasonable and necessary attorney’s

fees for prosecution of this case at trial and on appeal, pre-judgment and post-judgment interest,

and such other and further relief to which Plaintiffs may show themselves justly entitled.



                                              Respectfully submitted,


                                              /s/ Scott F. DeShazo_______________
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